Case 2:15-cr-20283-GCS-MKM ECF No. 291, PageID.2422 Filed 01/10/18 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20283
 vs.                                        HON. GEORGE CARAM STEEH

 D-1 BORIS ZIGMOND,

               Defendant.
 __________________________/

 ORDER GRANTING DEFENDANT’S MOTIONS FOR THE ISSUANCE OF
 A SUBPOENA DUCES TECUM (DOC. 279, 280, 281, 282 and 283) AND
      DIRECTING ISSUANCE OF SUBPOENAS DUCES TECUM
        This matter is presently before the Court on defendant Boris

 Zigmond’s motions for the issuance of a subpoena duces tecum. (Doc.

 279, 280, 281, 282 and 283). The Court finds that defendant has satisfied

 his burden under United States v. Nixon, 418 U.S. 683 (1974). Id. at 699-

 700.

        Defendant’s motions are GRANTED.

        IT IS HEREBY ORDERED that a subpoena duces tecum shall be

 issued for the following witnesses to produce records outlined in

 Attachment A of the subpoena forthwith, pursuant to Fed. R. Crim. P. 17(b)

 and (c):



                                      -1-
Case 2:15-cr-20283-GCS-MKM ECF No. 291, PageID.2423 Filed 01/10/18 Page 2 of 4




                        Allstate Insurance Company
                            C/O General Counsel
                       2775 Sanders Rd., Bldg. A2W
                            Northbrook, IL 60062

                             Geico Insurance
                           c/o General Counsel
                            One GEICO Plaza
                          Washington, D.C. 20076

                          Liberty Mutual Insurance
                            C/O General Counsel
                             175 Berkeley Street
                              Boston, MA 02116

                       State Farm Insurance
                           Resident Agent
              CSC-Lawyers Incorporating Service Company
                           601 Abbot Road
                      East Lansing, MI 48823

                            Traveler’s Insurance
                            c/o General Counsel
                           385 Washington Street
                            St. Paul, MN 55102


       IT IS FURTHER ORDERED that the witnesses identified above shall

 appear at Theodore Levin U.S. Courthouse, 231 West Lafayette Boulevard,

 Detroit, MI 48226-2700, to produce the documents requested in the

 subpoena. The witness need not appear if prior to the date outlined in the

 attached subpoena, the witness complies with the subpoena by serving the

 required documents upon attorney Ronald W. Chapman, II at 1441 W.


                                     -2-
Case 2:15-cr-20283-GCS-MKM ECF No. 291, PageID.2424 Filed 01/10/18 Page 3 of 4




 Long Lake Rd., Troy, MI 48098.

       IT IS FURTHER ORDERED that nothing in this Order shall restrict or

 prevent the recipient of the subpoena from filing timely objections to the

 subpoena and/or filing a timely motion to quash the subpoena with this

 Court. Defendant shall serve a copy of this Order with the subpoena.

       IT IS SO ORDERED.

 Dated: January 10, 2018


                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE




                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                       January 10, 2018, by electronic and/or ordinary mail.

                                       s/Marcia Beauchemin
                                           Deputy Clerk




                                           -3-
Case 2:15-cr-20283-GCS-MKM ECF No. 291, PageID.2425 Filed 01/10/18 Page 4 of 4




                                     -4-
